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            EXHIBIT A
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 A Garden Grove man accused of illegally imported protected Asian arowana                                     SUBSCRIBE
  sh — an expensive freshwater aquarium variety thought in some cultures to
 bring luck, prosperity and health — pleaded not guilty Thursday to federal
 charges.

 Shawn Naolu Lee, 29, entered his plea in Los Angeles to charges of conspiracy,
 illegally importing wildlife, and creating false documentation. He was ordered
 by U.S. Magistrate Judge Gail J. Standish to return to the courthouse Nov. 14 for
 trial. If convicted of all charges, Lee would face up to 30 years behind bars.

 Lee and a co-defendant, thought to be in Southeast Asia, were indicted last
 week in connection with the discovery of a parcel containing eight arowanas
 imported and received from Indonesia. Arowanas — also known as “arrows”
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and “dragon sh” — sell on the black market for at least $1,000 each, court
documents show.

The sh were allegedly hidden in plastic bags placed in porcelain pots. In a
sting operation, Lee allegedly signed for delivery of the parcel at his parent’s
home where he was living, according to an a davit. A search of the residence
allegedly turned up more than $15,000 in cash in Lee’s room, the document
said.

The colorful Asian arowana is protected by the Endangered Species Act and
cannot legally be brought into the United States. However, in some Asian
communities, the sh is thought to bring wealth and protection to businesses,
and some owners believe the sh can understand their thoughts.

—City News Service

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21st, 2017 by Debbie L. Sklar




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SMUGGLING



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                       GARDEN GROVE, CA — Though the fish are supposedly good luck, that
                       wasn't the case for this Orange County man. On Wednesday, Shawn
                       Naolu Lee, a 29-year-old Garden Grove man pleaded guilty a federal
                       charge of illegally importing protected Asian arowana fish. The
                       expensive freshwater aquarium variety is thought in some cultures to
                       bring luck, prosperity and health and is protected by the Endangered
                       Species Act. Arowana fish cannot legally be brought into the United
                       States, according to the Department of Justice.

                       Lee is scheduled to be sentenced July 23 in downtown Los Angeles on
                       the single felony count, where prosecutors are recommending six
                       months of house arrest.

                       Lee and co-defendant Mickey Tanadi, who was located in Indonesia,
                       were indicted last year in connection with the discovery of a parcel
                       containing eight arowanas imported and received from Indonesia.
                       Arowanas -- also known as "arrows" and "dragon fish" -- sell on the
                       black market for as much as $1,000 each.
'Lucky' Fish Trafficker Not So Lucky After Guilty Plea: COURT | Los ...   https://patch.com/california/losalamitos/lucky-fish-trafficker-not-so-luck...
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                       In some Asian communities, the fish is thought to bring wealth and
                       protection to businesses, and some owners believe the fish can
                       understand their thoughts.

                       Court papers show that the fish were hidden in plastic bags placed in
                       porcelain pots. In a sting operation, Lee signed for delivery of the DHL
                       international parcel on Feb. 10, 2017, at the home of his parents, where
                       he was living.




                       A search of the residence turned up more than $15,000 in cash in Lee's
                       room, which prosecutors determined were proceeds of the defendant's
                       illegal wildlife sales.
